 1.

 2.                           IN THE UNITED STATES DISTRICT COURT
 3.                                  FOR THE DISTRICT OF ALASKA
 4. KATHRYN GILES, as personal representative
    of the Estate of EUGENE CAMERON,                             IN ADMIRALTY
 5.
                                  Plaintiff,
 6.         v.                                                   Case No. 3:14-cv-00070-JWS
 7. AMFAC FOODS, INC.,
    AMFAC SEAFOODS, INC.,
 8. and SEA GALLEY STORES, INC.,

 9.                                            Defendants.
10.                               ORDER OF DEFAULT JUDGMENT
11.
              Plaintiff moves for entry of default judgment against Defendants Amfac Foods,
12.
      Inc., Amfac Seafoods, Inc., and Sea Galley Stores, Inc. The Clerk of the Court has
13.
      entered Defendants’ default by reason of their failure to answer Plaintiff’s complaint
14.
      (Docket No. 8). By failing to answer Plaintiff’s complaint, Defendants have admitted the
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      material factual allegations set forth in Plaintiff’s complaint.
16.
              Plaintiff’s complaint seeks a judicial declaration that the Vessel JOANN MARIE,
17.
      Official Number 533613, is not subject to certain Notices of Claim of Maritime Lien or to
18.
      the maritime liens asserted therein by Defendants. Given Defendants’ failure to contest
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      Plaintiff’s contention that Defendants have no liens upon the Vessel by reason of the
20.
      foregoing motion, the motion for entry of default judgment is GRANTED.
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      ORDER OF DEFAULT JUDGMENT
26. Kathryn Giles, as personal representative of the Estate of
      Eugene Cameron, v. Amfac Foods, Inc., et al.
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 1.
              It is hereby ORDERED, ADJUDGED and DECREED that Defendants’ maritime
 2.
      liens do not constitute marine liens pursuant to 46 U.S.C. § 31343(c)(2) upon the JOANN
 3.
      MARIE, Official Number 533613.
 4.
              Dated this 20th day of June, 2014.
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                                                          /s/John W. Sedwick
 7.                                                       JOHN W. SEDWICK
                                                          United States District Court Judge
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      ORDER OF DEFAULT JUDGMENT
26. Kathryn Giles, as personal representative of the Estate of
      Eugene Cameron, v. Amfac Foods, Inc., et al.
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